Case 1:12-Cr-00876-VSB Document 202

GEOFFREY S. BERMAN

United States Attorney for the
Southem Distriet of New York

By: KATHLEEN A. ZEBROWSKI
Assistant United States Attorney
86 Chambers Sti‘eet

NeW York, New York 1000'7
Telephone No.: (212) 637~2710
Fax No.: (212) 637-2717
kathleenzebrowski@usdoj.gov

UNITED STATES DISTRICT COURT

SOUTHEIU\I DISTRICT OF NEW YORK
____________________________________ X

UNITED STATES OF AMERICA,

P]aintiff and
Judgment~Creditor,

_V_...
BRENDAN CHGLIA,

Surety and
Judgment-Debtor,

and
ALSTOM TRANSPORT,

Garnishee.

____________________________________ X

GREETINGS TO: Alstorn Transpoit.
1 Horneii Drive
Horne, NY 14843

Filed 07/09/18 Page 1 of 3

osoc: an\;`h“_M“`""
DOCUMENT

ELECTRONICALL_Y FILED
DOC #:

DATE FILED; ’i`f @'_ g

 

 

 

 

WRIT OF GARNISHMENT

12 en 876 (vsB)

An application for a Writ of Ganiishrnent against the property of defendant

Brendan Ceglia, (the "debtor"), Whose last known address is 43 E. Vanseotter Street, Homell,

NY 14843, has been filed With this Court. On Mareh 24, 2015, a judgment arising out of a bail

Case 1:12-cr-00876-VSB Document 202 Filed 07/09/18 Page 2 of 3

forfeiture judgment was entered against the debtor in the amount of 3250,0()0.00. The balance
due on the judgment as of.`tune 22, 2018, is $251,924.53.

You are required by law to withhold and retain any property in which the debtor
has a substantial nonexempt interest and for which you have or may become indebted to the
debtor pending further order of the Court. You are required by law to file a written answer,
under oath, within ten (l()) days of service of this writ stating whether or not you have in your
custody, control or possession, any property owned by the debtor, including nonexenipt,
disposable earnings Please state whether or not you anticipate making any future payments to
the debtor and whether such payments will likely be weekly, bi-weekly or monthly

You must tile the original answer to this writ with the Clerk of the United States
District Court, Southern District of New York, United States Courthouse, 500 Peari Street, New
Yoi'k, New York 10007, Attn: Arraignment Unit Roorn 520. Additionally, you are required to
serve a copy of the answer upon the debtor Brendan Ceglia, at 43 E Vanscotter Street, Horneli,
NY 14843, and upon Assistant United States Attorney Kathleen A. Zebrowski, United States
Attorney's Oiiice, 36 Chambers Street, New York, New York 10007.

r`I`here may be property which is exempt by law from this writ of garnishment
Property which is exempt and which is not subject to this writ is listed on the annexed Notice
from the Clerl< of the United States District Court.

Pursuant to 15 U.S.C. § 1674, as Garnishee, you are prohibited from discharging
the debtor from employment by reason of the fact that the debtor's earnings have been subject to
garnishment

If you fail to answer this writ or withhold property in accordance therewith, the

United States of America may petition the Court for an order directing you to appear before the

Case 1:12-cr-00876-VSB Document 202 Filed 07/09/18 Page 3 of 3

court to show good cause why you failed to comply with this writ. lf you fail to appear or do
appear and fail to show good cause why you failed to comply with the writ, the court shall enter
a judgment against you for the value of the debtor's nonexempt interest in the property

lt is unlawful to pay or deliver to the debtor any items attached by this writ.

Dated: New York, New York

June §§ , 20i8

So Or ered:

 

ll ;>)»§*">

U\l“\l!lTED STATES DISTRICT JUDGE

